“IN THE UNITED STATES DISTRICT COURT FOR THE
mee WESTERN DISTRICT OF MISSOURI
WESTERN: DIVISION — :
UNITED STATES OF AMERICA,
: Plaintiff,

~~ Case No. 09-CR-00188-FIG-4

ADRIAN L. DUNN,

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UNITED STATES’ SUGGESTIONS IN RESPONSE TO DEFENDANT DUNN'S MOTION 2%
TO VACATE ADMINSTRATIVE FORFEITURE FINDINGS BY
UNITED STATES CUSTOMS AND BORDER PROTECTION,
DEPARTMENT OF HOMELAND SECURITY
‘The United States of America provides the following suggestions in response to defendant
Adrian Deon $ motion to vacate administrative forfeiture findises i the United a Chattise:
. - an Border Protection, Deptt of Homeland Security: |
oF - : “Suggestions i in Response 3
On December Le: 2012, defendant Adrian L. Dun, acting pro SE, filed a document entitled
“Claimant s Motion to Vacate Administrative Forfeiture Findings by Customs and Border
Protection and Department of Homeland Security Agencies” (Moe. 774):. By this motion; Dunn
. he has asked the Coint to vacate the adiinistrative ite ones ete no cern aes by
Customs and Border. Protection (“CPB”), which i is the agency that processes forfeitures for the
Homeland. Security Investigations division of United States Immigration and Customs

Enforeement CHSVICE,’ z known previously as a ‘Dann brings his.motion pursuant to 18

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U. S. C. § 983(¢). ‘Because the tnotion was filed i in a closed criminal c case, the undersigned AUSA
os did not become aware of the filing until recently.

The assets involved i in Dunn’ s motion were seized as part of the criminal investigation into
racic trafficking underlying the criminal prosecution j in United States v. Corredor, et al.,in
which Dunn was a co-defendant. CPB processed the séizures administratively and eventually
issued two decrees ordering the forfeiture ofa number ofa: assets, including those claimed by Dunn.
' The frst order, dated October 21, 2009, forfeited $40, 000, a 2004 BMW, a 2004 Cadillac
Escalade, and a. 2005 Chevrolet Corvette. The second order, dated April 20, 2011, forfeited
$41, 000, a 1974 Chevrolet Captice; and a Chevrolet Inpal,. ‘These assets were also named i in the

' ¢riminal indictment, but the’ government elected not to complete the e criminal forfeiture because of
. the pendeicy of the administrative proceedings .

Duin has prop brought this motion. pursuant to. 18, Uz. S. C. 8 983(@), with two caveats.
First, the motion i is a civil matter, not a criminal one, see 18 U.S.C. § 983(e)(1), and the United
States would ask that the motion be given a anew civ. iumbes Second, the motion names CBP
eniployee J aynie Zalkibe as the defendant rather than ihe United Stats. The United States is the
proper defendant in this action. Af "Dunn teally intends: ton name Ma Zakibe i in her individual
- capacity then: this Becomes a Bivens suit. In that case, » Dun would have to personally serve the

. lawsuit on Ms. Zakibe?

L Dunn has filed a pro se brief in ‘the’ currently pending appeal of his criminal
conviction raising the saine issues conceming the administrative forfeitures by CPB. The.
United States is taking the position that the administrative forfeitures are not part ofthe —
criminal case, and can only be reviewed pursuant toa civil il proceeding i in the District Court
pursuant to, 18 U.S. C. § 983(e). .

2 The United Statés will not agree to waive. the's ‘service requirement in a Bivens .
‘action. If Dunn will agree to substitute the United States as the defendant for Ms. Zabike,

'__- service is not-an issue. a, . ,
UNITED STATES ATTORNEY’S OFFICE FOR , PAGE 2.0F 4. one 2 MONETARY PENALTIES UNIT
THE WESTERN DISTRICT OF MISSOURI

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